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IN THE UNITED sTATEs DISTRICT coURT 05 JUH_'} pH L}: 28

FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION ;;»OBEH? FF_ §§ _

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WILLIAM GROSS.-
Petitioner,

V»

No. 04-3053 Ma/P
UNITED STATES OF AMERICA,

Defendant.

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ORDER DEN'YING “MOTION UNDER 28 U.S.C. 2255 TO VACATE, SET ASIDE,
OR CORRECT SENTENCE"

 

On October 19, 2001, Petitioner William Gross entered a plea
of guilty to one count of conspiracy to distribute a controlled
substance in violation of 21 U.S.C. § 846. On January 18, 2002, he
was sentenced on that count to eighty-seven (87) months of
incarceration. The trial court enhanced Petitioner’s sentence
based on its factual finding that the Petitioner reasonably could
have foreseen that a co-defendant would possess a weapon in the
drug trade. Petitioner appealed, and the Sixth Circuit Court of
Appeals affirmed his sentence on October 2, 2003.

Petitioner‘ brings the instant action, which, the court

construes as a petition challenging his sentence under 28 U.S.C. §

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2255.1 Petitioner argues that his sentence enhancement violates

the United States Supreme Court’s decisions in Blakely v.

 

Washington, - U.S. -, 124 S. Ct. 2531 (2004), United States v.
Booker, ~ U.S. -, 125 S. Ct. 738 (2005), and United States v.
Fanfan, - U.S. -, 125 S. Ct. 738 (2005),2 because his base offense

level under the Federal Sentencing Guidelines was increased based
on facts that were not found by a jury beyond a reasonable doubt.
I. Analysis

“Generally speakingr federal habeas corpus petitioners may not
rely on new rules of criminal procedure handed down after their
convictions have become final on direct appeal.” Humphress v.
United States, 398 F.3d 855, 860 (6th Cir. 2005){citing Schiro v.
Summerlin, - U.S. -, 124 S. Ct. 2519, 2523 (2004)). An exception
applies if a new rule of criminal procedure applies to 1) “rules
forbidding punishment of a certain primary conduct or to rules
prohibiting a certain category of punishment for a class of
defendants because of their status,” or to 2) “watershed rules of
criminal procedure implicating the fundamental fairness and
accuracy of the criminal proceeding." ;d$ (citing Beard v. Banks, -

U.S. -, 124 S. Ct. 2504, 2513-14 (2004)); see also Teague v. Lane,

 

lPetitioner has styled this action as a motion in his previous criminal
case. It has been docketed, and the court will construe it, as a separate
civil action. See 28 U.S.C. § 2255.

2Booker and Fanfan had not been decided when Petitioner filed this
motion, but those decisions extended the holding in Blakely to the Federal
Sentencing Guidelines, and the petition expressly anticipates this outcome.

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489 U.S. 288 (1989).

A conviction becomes final for purposes of 28 U.S.C. § 2255
“upon the expiration of the 90-day period in which the defendant
could have petitioned for certiorari to the Supreme Court, even
when no certiorari petition. was filed.” Sanchez-Castellano v.
United States, 358 F.3d 424, 426 (6th Cir. 2004). Because
Petitioner's conviction was affirmed on October 2, 2003, there is
no question that, for purposes of this proceedingr his conviction
had become final when the petition was filed and when the Booker
decision was announced. The Sixth Circuit has explicitly'held that
the Booker decision constitutes a new rule of criminal procedure
and that it does not apply retroactively under the recognized
exceptions. §ee Humphress, 398 F.3d at 862-63. Thus, Petitioner
may not use the Booker decision as a basis to review his sentence
under 28 U.S.C. § 2255. lQ; at 863.

II. Conclusion

For the foregoing reasons, the petition is DENIED.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

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Honorable Samuel Mays
US DISTRICT COURT

